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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

JASON RATCLIFF, et al.,

            Plaintiffs,                                          Case No. 1:05-cv-582

vs.                                                              Spiegel, J.
                                                                 Black, M.J.
ERNIE MOORE, et al.,

            Defendants.

  REPORT AND RECOMMENDATION1 THAT ALL PENDING MOTIONS BE
    DENIED WITHOUT PREJUDICE (Docs. 19, 22, 23, 25, 27, 28) DUE TO
     PLAINTIFFS’ FAILURE TO PROPERLY EFFECT SERVICE UPON
                     ANY OF THE DEFENDANTS

            The Court previously entered a Show Cause Order in this civil action, advising the

Plaintiffs that their complaint would be dismissed for failure to effect proper and timely

service of process of the summons and complaint upon the named Defendants if Plaintiffs

failed to show cause why their complaint should not be dismissed for failure of service of

process. (See Doc. 31 (citing Habib v. General Motors Corp., 15 F.3d 72, 73 (6th Cir.

1994); United States v. Gluklick, 801 F.2d 834, 836-37 (6th Cir. 1986)).

            In response to the Show Cause Order, Kelsey Ratcliff, a non-party and wife of pro

se plaintiff Jason Ratcliff, submitted an affidavit along with certified mail return receipts

allegedly showing that each of the named Defendants had received a copy of the

summons and complaint. (Doc. 32, Ex. 1.) However, the documents submitted by Ms.

Ratcliff do not establish that the named Defendants have been served in compliance with


      1
          Attached hereto is a NOTICE to the parties regarding objections to this Report and Recommendation.
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Ohio certified mail service pursuant to S.D.Ohio Civ. R. 4.2.

       Here, the record remains does not evidence that Plaintiffs have properly served

Defendants with the summons and complaint (i.e., no returned executed summons have

been filed with the Court in accordance with S.D.Ohio Civ. R. 4.2). See Order of today

(Doc. 34).

       Although the time deadline set forth in the Show Cause Order has now passed

without Plaintiffs having properly effectuated service upon the named Defendants

pursuant to Federal Rule of Civil Procedure 4(i)(1)(A) and S.D.Ohio Civ. R. 4.2, the

undersigned has entered today another Order (Doc. 34) directing Plaintiffs to effect

service properly (which Order includes very specific instructions).

       However, because Plaintiffs have not properly nor timely effected service, the

Court continues to lack jurisdiction over any Defendant, and, accordingly, the

undersigned RECOMMENDS that all of Plaintiffs’ pending motions (docs. 19, 22, 23,

25, 27, 28) be DENIED without prejudice, subject to refiling, if necessary, after Plaintiffs

establish that the Defendants have been properly served with the summons and complaint.




Date: August 15, 2006                                   s/ Timothy S. Black
                                                        Timothy S. Black
                                                        United States Magistrate Judge




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                       UNITED STATES DISTRICT COURT
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JASON RATCLIFF, et al.,

      Plaintiffs,                                 Case No. 1:05-cv-582

vs.                                               Spiegel, J.
                                                  Black, M.J.
ERNIE MOORE, et al.,

      Defendants.

                                        NOTICE

      Pursuant to Fed. R. Civ. P. 72(b), any party may serve and file specific, written
objections to this Report and Recommendation within TEN DAYS after the date this
Report and Recommendation is stamped “filed” by the Clerk of Court. This period may
be extended by the Court on timely motion by either side for an extension of time. All
objections shall specify the portion(s) of the Report and Recommendation objected to,
and shall be accompanied by a memorandum of law in support of the objections. A party
may respond to an opponent’s objections within TEN DAYS after being served with a
copy those objections. Failure to make objections in accordance with this procedure may
forfeit rights on appeal. See Thomas v. Arn, 474 U.S. 140 (1985); United States v.
Walters, 638 F.2d 947 (6th Cir. 1981).




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